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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO


Nilda Rodriguez-Cortes et al                      CIVIL NO. 22-1410 (WGY)
Plaintiffs

V.

Department of Education of Puerto
Rico et al
Defendants


                                      JUDGMENT

In light of ECF No. 13 Order and the Courts Approval of the settlement

agreement, this case is now dismissed. IT IS SO ORDERED AND

ADJUDGED.




In San Juan, Puerto Rico, on this 18th day of November of 2022.




                                               s/William G. Young
                                               United States District Judge
